             Case 2:99-cr-00129-EJG Document 133 Filed 01/07/08 Page 1 of 2


P R O B 35           ORDER TERMINATING SUPERVISED RELEASE
                           PRIOR TO EXPIRATION DATE


                           UNITED STATES DISTRICT COURT
                                     FOR THE
                          EASTERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA                           )
                                                   )
                           vs.                     )     Docket Number: 2:99CR00129-03
                                                   )
ARMANDO CANTU BARRERA                              )
                                                   )


On May 16, 2003, the above-named was placed on Supervised Release for a period of 5
years. He has complied with the rules and regulations of supervision. It is accordingly
recommended that he be discharged from supervision.



                                     Respectfully submitted,

                                      /s/ Joseph N. Gama

                                   JOSEPH N. GAMA
                             United States Probation Officer


Dated:         December 11, 2007
               Redding, California
               JNG:aph


                           /s/ Richard A. Ertola
REVIEWED BY:
                     RICHARD A. ERTOLA
                     Supervising United States Probation Officer




                                                                                                          R ev. 05/2006
                                                               E A R LY T E R MIN A T IO N ~ O R D E R (P R O B 35).M R G
          Case 2:99-cr-00129-EJG Document 133 Filed 01/07/08 Page 2 of 2


Re:   BARRERA, ARMANDO CANTU
      Docket Number: 2:99CR00129-03
      ORDER TERMINATING SUPERVISED RELEASE
      PRIOR TO EXPIRATION DATE




                                  ORDER OF COURT

It is ordered that the supervised releasee be discharged from Supervised Release, and that
the proceedings in the case be terminated.




 1/7/08                                          /s/ Edward J. Garcia
Date                                           HON. EDWARD J. GARCIA
                                               Senior United States District Judge

JNG:aph

Attachment:   Recommendation

cc:   United States Attorney's Office




                                                                                                       R ev. 05/2006
                                                            E A R LY T E R MIN A T IO N ~ O R D E R (P R O B 35).M R G
